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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:08CR281
                                             )
       vs.                                   )                   ORDER
                                             )
JOSE A. ROBLEDO,                             )
                                             )
                     Defendant.              )


       This matter is before the court on the request of defendant Jose A. Robledo (Robledo)
for return of property (Filing No. 170). The United States shall respond to such request by
filing a response on or before September 18, 2013.


       IT IS SO ORDERED.


       DATED this 3rd day of September, 2013.


                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
